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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X         Case No. 20-cv-3311
SOCIAL LIFE MAGAZINE, INC.,

          Plaintiff,
v.

SENTINEL INSURANCE COMPANY
LIMITED,

          Defendant.
------------------------------X


PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF APPLICATION FOR A
PRELIMINARY INJUNCTION



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PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF APPLICATION FOR A
PRELIMINARY INJUNCTION

     Plaintiff submits this memorandum of law in support of its

application for a preliminary injunction.        The preliminary

injunction sought by plaintiff seeks an order, pending

resolution of this lawsuit, requiring defendant to pay $197,000

in connection with two of plaintiff’s insurance claims: (1) loss

of business income sustained during a necessary suspension of

operations and (2) loss of business income sustained during the

60 days after access to plaintiff’s business was prohibited by

order of a civil authority (i.e., New York State Executive Order

202.8).

Standard for A Preliminary Injunction

     Under the Second Circuit’s current test for issuing a

preliminary injunction, in accordance with the Supreme Court's

decision in eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 126

S.Ct. 1837, 164 L.Ed.2d 641 (2006), a district court must

determine that a plaintiff has shown: (1) a likelihood of

success on the merits; (2) that absent an injunction plaintiff

is likely to suffer irreparable injury that cannot be remedied

with monetary damages; (3) that the balance of hardships tips in

favor of Plaintiff; and (4) that “the public interest would not

be disserved” by the issuance of an injunction. Salinger v.




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Colting, 607 F.3d 68, 79–80 (2d Cir. 2010), quoting eBay, Inc.,

547 U.S. at 391.

     Plaintiff Has Shown A Likelihood of Success on the Merits

     As set forth in the Complaint, plaintiff has submitted five

separate insurance claims pursuant to its policy with the

defendant resulting from the novel coronavirus known as SARS-

Cov-2.    (Plaintiff’s Declaration dated May 4, 2020 (“Pl.Decl.”),

Ex. 1, para. 17).    This application relates to only two of those

five claims, namely (1) the claim for loss of business income

sustained from the necessary suspension of operations caused by

the direct physical loss of or physical damage to the property

at plaintiff’s premises and (2) the claim for loss of business

income sustained during the 60 days after access to plaintiff’s

business was prohibited by order of a civil authority (i.e., New

York State Executive Order 202.8) as of March 22, 2020.

     On March 7, 2020, New York Governor Andrew M. Cuomo issued

Executive Order 202 declaring a State disaster emergency for New

York State due to the novel coronavirus SARS-Cov-2. (Pl.Decl.,

Ex. 2).

     On March 17, 2020, plaintiff ceased its business operations

including operations at its office premises due to contamination

of the premises by the coronavirus known as SARS-Cov-2 in New

York City.   (Pl.Decl., para. 4).       Because plaintiff’s equipment

is specialized and industrial in nature, plaintiff’s

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employees and independent contractors could not and have not

telecommuted or worked from home since March 17, 2020 to

produce plaintiff’s product that is a Spring-Summer-Fall

monthly magazine of approximately 160 pages distributed in

and in front of retail establishments in the East End region

of Long Island, New York, including West Hampton, Hampton

Bays, Sag Harbor, Bridgehampton, Southampton, East Hampton,

Amagansett, Wainscot and Montauk. (Id.).

      On March 20, 2020, New York Governor Andrew M. Cuomo issued

Executive Order 202.8 that continued and modified Executive

Order 202 by requiring each employer providing non-essential

services or functions to reduce the in-person workforce at all

work locations by 100% by March 22, 2020 at 8pm. (Pl.Decl., Ex.

3).   As set forth in Executive Order 202.6 dated March 20, 2020

that defined essential services and functions, plaintiff’s

magazine business does not provide essential services excluding

it from complying with Executive Order 202.8.          (Pl.Decl., Ex.

4).

      In response to plaintiff’s submitting the two insurance

claims described above to the defendant on March 17, 2020,

defendant denied the claims on March 26, 2020 on the ground that

the coronavirus has not caused any physical loss or damage to

property at plaintiff’s offices. (Pl.Decl., Ex. 5, p.2).           After

defendant provided plaintiff with a request to re-open the

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claims on April 17, 2020 and with legal authority on April 24,

2020 contradicting the contention that the coronavirus has not

caused physical loss or damage to plaintiff’s property

(Pl.Decl., Exs. 6 & 7), defendant still refused to re-open

plaintiff’s claims and retract the denial of the claims.

(Pl.Decl., Ex. 8).

     Since 2004, Plaintiff’s business has been to print 6-8

monthly glossy magazines per year containing approximately 160

pages per issue from May to November each year.         (Id., para. 5).

Because plaintiff’s equipment is specialized and industrial in

nature, plaintiff’s employees and independent contractors cannot

telecommute or work from home to produce plaintiff’s magazine.

(Id.).

     Plaintiff contends that plaintiff’s property has been

physically damaged and contaminated by the virus SARS-CoV-2 and

rendered unusable.    (Pl.Decl., Ex. 1).     Such physical loss or

damage has been acknowledged and codified by New York State’s

Executive Orders 202, 202.6 and 202.8. (Pl.Decl., Exs. 2-4).

     Defendant’s contention that the loss caused by the

coronavirus is not “physical” in nature is contradicted by the

insurance policy that specifically recognizes that infestations

caused by “insects, birds, rodents, mold, spore or other

animals” can cause “physical loss” and/or “physical damage.”

(Pl.Decl., Ex. 9, p.46 of 142 of pdf file (p.17 of 25 of Special

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Property Coverage Form), B. Exclusions, Section 2(c)(5)). The

policy does not exclude a virus infestation as a type of loss

from a type of physical loss or physical damage that is covered

under the policy.    Accordingly, because the policy acknowledges

that the infestation of the coronavirus can cause (and has

indeed caused) physical loss and physical damage to the

scheduled premises and all the equipment therein, the insured is

entitled to the requested coverage.

     In addition, NY State Executive Order 202 dated March 7,

2020 is specifically based on the January 30, 2020 designation

by the World Health Organization (the “WHO”) that the novel

coronavirus outbreak is a Public Health Emergency of

International Concern.     (Pl.Decl, Ex. 2).     As shown by the

information from the WHO’s website, the virus that causes COVID-

19 is transmitted “by touching a contaminated surface.”

(Pl.Decl., Ex. 10).    The airborne droplets containing the virus

generated when an infected person coughs, sneezes or speaks “are

too heavy to hang in the air.”      (Id.).   As a result, “they

quickly fall on floors or surfaces.” (Id.). “[R]espiratory

droplets expelled from an infected person can contaminate and

persist on surfaces.” (Id.).

     Again, given that New York State’s Executive Order 202.8

has acknowledged and codified that the coronavirus has

contaminated the surfaces of the equipment at the scheduled

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premises (Pl.Decl., Ex. 4), plaintiff contends that it is

entitled to coverage under the policy.

     Moreover, defendant’s “Pollution” exclusion is further

evidence that plaintiff is entitled to coverage.         In denying

coverage, defendant claimed that “coronavirus is understood to

be an irritant or contaminant which causes or threatens to cause

physical impurity, unwholesomeness and threatens human health or

welfare” and this is included in the definition of a “Pollutant

and Contaminant” described in the policy.       (Pl. Decl, Ex. 5,

p.4).   However, the policy’s definition of “Pollutants and

Contaminant” specifically applies only to inanimate or lifeless

items like “smoke, vapors, soot, fumes, acids, alkalis,

chemicals and waste.”    (Pl.Decl., Ex. 9, p.54 of 142 of pdf file

(p.25 of 25 of Special Property Coverage Form), G. Property

Definitions Section G(15).

     In obvious contrast to such items, a virus is a biological

contaminant with a specific life cycle that includes

replication.   “Pollutants and Contaminants” cannot replicate

themselves.

     In any case, the pollution and contamination exclusion in

the policy only bars coverage for a “discharge, dispersal,

seepage, migration, release, or escape of “pollutants”.

(Pl.Decl., Ex. 9, p.60 of 142 of pdf file (p.4 of 24 of Business

Liability Coverage Form), B. Exclusions, Section 1(f)(1)).

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These verbs clearly limit the scope of the exclusion.         None of

those verbs apply to the mere presence of either the novel

coronavirus as a contaminant or any person infected with COVID-

19 (the disease caused by the coronavirus). Terms like release,

escape, discharge and dispersal all refer to an escape of

contaminants from a place of containment, such as a storage

tank.    See, e.g., Queen City Farms, Inc. v. Central Nat’l Ins.

Co. of Omaha, 126 Wn.2d 50, 882 P.2d 703 (Wash. 1994) (terms

such as discharge, dispersal, release or escape in a pollution

exclusion presuppose a place of containment).

        The mere presence of a virus is not an “escape” of the

virus.    Thus, the terms like those used in defendant’s pollution

exclusion do not encompass the transmission of an infectious

disease, which occurs in nature and does not involve a release

of contaminants from a confined place. As a result, this is

another reason that the pollution exclusion does not bar

coverage in this case.

     Indeed, other similar insurance policies specifically

include a virus pandemic as an exclusion.       For example, the

insurance policy in Meyer Natural Foods LLC v. Liberty Mut. Fire

Ins. Co., 218 F.Supp.3d 1034, 1038 (D.Neb. 2016) contains an

exclusion for:

     “The actual or suspected presence or threat of any virus,

organism or like substance that is capable of inducing disease,

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illness, physical distress or death, whether infectious or

otherwise, including but not limited to any epidemic, pandemic,

influenza, plague, SARS, or Avian Flu.”.

     Plaintiff’s policy does not contain such an exclusion.

(Pl.Decl., Ex. 9). Accordingly, defendant’s attempt to stretch

the meaning of the pollution/contaminant exclusion in the policy

at issue is clearly untenable.

     Accordingly, an in-depth analysis of relevant case law is

not required to interpret the policy at issue; the plain

language of the policy entitles plaintiff to the requested

coverage.   In any case, an in-depth analysis of the relevant

case law described below also shows that plaintiff is entitled

to the requested coverage.

     “The majority of cases appear to support [the] position

that physical damage to the property is not necessary, at least

where the building in question has been rendered unusable by

physical forces.” TRAVCO Ins Co. v. Ward, 715 F. Supp. 2d 699,

708 (E.D. Va. 2010), aff’d, 504 F. App’x 251 (4th Cir. 2013).

     For example, in Port Authority of New York & New Jersey v.

Affiliated FM Insurance Co., infra, a federal appeals court held

that a building contaminated with asbestos fibers suffered

“physical loss or damage” that triggered property coverage.

While the mere installation of asbestos was not loss or damage,

the court found that the presence or imminent threat of a

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release of the asbestos would “eliminate[] or destroy[]” the

function of the building, making the structure “useless or

uninhabitable.” Port Authority of New York & New Jersey v.

Affiliated FM Insurance Co., 311 F.3d 226, 236 (3d Cir.2002).

     Courts throughout the United States have found that the

presence of materials such as fumes, e-coli bacteria and smoke

caused physical loss or damage to property. See, e.g., Essex v.

BloomSouth Flooring Corp., 562 F.3d 399, 406 (1st Cir. 2009)

(finding that, under Massachusetts law, an unpleasant odor

rendering property unusable constituted physical injury to the

property); Motorists Mut. Ins. Co. v. Hardinger, 131 F. App’x

823 (3d Cir. 2005) (contamination of well with e-coli would

render property useless or uninhabitable and therefore

constitute covered physical loss or damage); Oregon Shakespeare

Festival Ass’n v. Great Am. Ins. Co., 2016 WL 3267247, at *9 (D.

Ore. June 7, 2016) (where theater cancelled performances because

of air quality due to nearby wildfires, “[t]he smoke that

infiltrated the theatre caused direct property loss or damage by

causing the property to be uninhabitable and unusable for its

intended purpose”); Western Fire Ins. Co. v. First Presbyterian

Church, 437 P.2d 52 (Colo.1968) (holding the infiltration of a

church by gas fumes constituted a physical loss); Farmers Ins.

Co. v. Trutanich, 123 Or. App. 6, 858 P.2d 1332 (1993) (holding

the saturation of an insured dwelling by methamphetamine fumes

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constituted a physical loss); See also Downtown Restaurant Co.

LLC v. Firemen’s Insurance Companies, 2007 NY Slip Op 31331 (NY

Sup.Ct., NY County 5/17/2007) (summary judgment dismissing

Complaint denied in order to permit plaintiff to prove at trial

whether debris, soot, paper and dust covered the insured

premises 1 mile from World Trade Center attacks causing physical

damage to said premises).

     In Gregory Packaging, Inc. v. Travelers Prop. Cas. Co. of

Am., infra, a New Jersey federal court found that the mere

presence of an unwanted substance can trigger coverage for

polices requiring “direct physical loss or damage.” Gregory

Packaging, Inc. v. Travelers Prop. Cas. Co. of Am, 2012-CV-

04418, 2014 WL 11770106 (D.N.J. June 11, 2014).        That Court held

that the ammonia that was released inside an insured’s facility

constituted “direct physical loss of or damage to” the insured’s

property, thus meeting the physical damage threshold.         In

determining whether Gregory Packaging’s property experienced

physical harm, the Court cited various cases holding that direct

physical loss arises when property is rendered unusable. Id.,

citing Wakefern Food Corp. v. Liberty Mut. Fire Ins. Co., 968

A.2d 724, 727 (N.J.Super.Ct., App.Div. 2009) (holding that an

electric grid was “physically damaged” because of “the loss of

function of the system as a whole.”), Western Fire Ins. Co. v.

First Presbyterian Church, 437 P.2d 52 (Colo. 1968) (holding

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that the saturation of a church with gasoline vapors constituted

“direct physical loss” because the building was no longer

usable), Port Auth. of New York & New Jersey v. Affiliated FM

Ins. Co., 311 F.3d 226, 236 (3d Cir. 2002) (holding that “[w]hen

the presence of large quantities of asbestos in the air of a

building is such as to make the structure uninhabitable and

unusable, then there has been” physical damage) and TRAVCO Ins.

Co. v. Ward, supra at 709 (finding “direct physical loss” where

“home was rendered uninhabitable by the toxic gases” released by

defective drywall).

     Courts have gone even further than simply holding that non-

visible and molecular-level property damage satisfied the

“physical loss” requirement for business interruption coverage.

Those courts have held that the key consideration is not whether

property damage exists, however microscopic that damage may be,

but rather whether property has become unsafe or uninhabitable

for use.   For example, the Supreme Court of Colorado equated the

loss of use of property to physical loss or damage in Western

Fire Ins. Co. v. First Presbyterian Church, 165 Colo. 34 (1968).

In that case, the Court found that a church sustained physical

loss of its property when gasoline accumulation around the

church building made its premises uninhabitable and its

continued use dangerous.



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     Numerous courts have held that physical loss or damage does

not necessitate physical alteration. See American Guarantee &

Liability Ins. Co. v. Ingram Micro, Inc., 2000 WL 726789 (D.

Ariz. 2000) (finding that “physical damage” includes “loss of

access, loss of use, and loss of functionality”); Dundee Mut.

Ins. Co. v. Marifjeren, 587 N.W.2d 191, 194 (N.D. 1998)

(“Clearly, without qualification, the term “damage” encompasses

more than physical or tangible damage.”); Matzner v. Seaco Ins.

Co., 1998 WL 566658 (Mass.Super.Ct. 1998) (adopting the

interpretation of “direct physical loss or damage” to include

“more than tangible damage to the structure of insured

property”).

     Relevant case law also shows that temporary loss of use and

loss of functionality satisfies the physical loss or damage

requirement in the policy at issue. For example, when problems

with the North American electrical grid caused a four-day

electrical blackout to parts of the United States and Canada,

that closed the plaintiff’s supermarkets, a New Jersey appellate

state court reversed the trial court’s grant of summary judgment

to the insurer.   Wakefern Food Corporation v. Liberty Mutual

Fire Insurance Co., 406 N.J. Super. 524 (2009). The Wakefern

court rejected the trial court’s conclusion that “the definition

of ‘physical damage’ cannot be extended in this case to include

the temporary loss of use due to a power interruption, because

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the property resumed its former use or function as soon as the

power was restored, and its value was not diminished.”

     Likewise, property owners who were required to leave their

homes due to large boulders and rocks that had fallen on nearby

property sustained a physical loss under their homeowners’

policy even though the boulders had not damaged their property.

Murray v. State Farm Fire & Casualty Co., 509 S.E.2d 1 (W. Va.

1998). Although they had sustained no structural damage to

their homes, the plaintiffs’ homes had become “unsafe for

habitation, and therefore suffered real damage,” covered by the

policy because the boulders could cause damage to the

plaintiffs’ homes at any time.

     In Datalab Inc. v. St. Paul Fire and Marine Insurance Co.,

347 F.Supp. 36, 37 (S.D.N.Y. 1972), a New York federal court

held that business interruption coverage was appropriate where a

policy that required physical loss or damage to equipment

included equipment that was not visibly damaged but was still

non-functioning and could not be utilized “normally in the

operation of [the insured’s] business.”       The Datalab Court found

that the equipment had been physically damaged even though (1)

the insured’s equipment could be still be physically touched as

a non-functioning mass of metal, (2) plaintiff was never barred

from accessing the equipment and (3) the fire that impaired the

use of the equipment occurred on a floor different from the

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floor containing the equipment.      Datalab Inc. v. St. Paul Fire

and Marine Insurance Co., 347 F.Supp. at 37-38.

     Similarly, in this case, plaintiff’s inability to utilize

the equipment in its office as of March 17, 2020 means that the

equipment has been physically damaged thereby triggering the

requested coverage.

     For all the foregoing reasons, plaintiff has shown that is

likely to succeed on the merits of the breach of contract claim

alleged in the Complaint relating to the two insurance claims

described above.

     Plaintiff Has Shown That It Will Suffer Irreparable Harm If
     The Request Relief Is Not Given.

     Irreparable injury has been defined as harm where “remedies

available at law, such as monetary damages, are inadequate to

compensate” the plaintiff. Salinger, 607 F.3d at 80 (quoting

eBay, 547 U.S. at 391, 126 S.Ct. 1837).

     A plaintiff can show a threat of irreparable injury by

showing a threatened loss of good will and loss of ability to

control its reputation. See New York City Triathlon, LLC v. Nyc

Triathlon Club, Inc., 704 F.Supp.2d 305, 325 (S.D.N.Y. 2010);

The Marks Org. Inc. v. Joles, 784 F.Supp.2d 322 (S.D.N.Y., 2011)

(Loss of good will constitutes irreparable harm); Clorox Intern.

Co. v. International Trade Expo, Inc., 1995 WL 106104, *8




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(S.D.N.Y. March 9, 1995) (Loss of good will constitutes

irreparable harm).

     Loss of good will is particularly difficult to quantify

because monetary damages do not “redress the loss of a

relationship with a client that would produce an indeterminate

amount of business in years to come.” Ticor Title Ins. Co. v.

Cohen, 173 F.3d 63, 69 (2d Cir.1999). Johnson Controls, Inc. v.

A.P.T. Critical Sys., Inc., 323 F.Supp.2d 525, 532 (S.D.N.Y.

2004)(loss of client relationships and customer good will built

up over the years constitutes irreparable harm).

     The Second Circuit has found irreparable harm where a party

is threatened with the loss of a business. In Semmes Motors,

Inc. v. Ford Motor Co., 429 F.2d 1197 (2d Cir.1970), a father-

and-son car dealership was threatened with termination of its

franchise by the manufacturer. The Court affirmed a finding of

irreparable injury on the grounds that termination of the

franchise would "obliterate" the dealership and that the right

to continue a business "is not measurable entirely in monetary

terms." Id. at 1205; see also Roso-Lino Beverage Distribs., Inc.

v. Coca-Cola Bottling Co., 749 F.2d 124, 125-26 (2d Cir.1984)

(per curiam) (finding irreparable harm from loss of "ongoing

business representing many years of effort and the livelihood of

its husband and wife owners"); Jacobson & Co. v. Armstrong Cork

Co., 548 F.2d 438, 445 (2d Cir.1977) (affirming finding of

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irreparable harm because plaintiff "presented ample evidence to

show a threatened loss of good will and customers, both present

and potential, neither of which could be rectified by monetary

damages"); Interphoto Corp. v. Minolta Corp., 417 F.2d 621, 622

(2d Cir.1969) (per curiam) (affirming finding of irreparable

harm because plaintiff "would be unable to calculate its damages

since it would suffer not merely loss of profits with respect to

[defendant's] goods but loss of good will from the lack of a

'full line'").

     “Where the loss of a product will cause the destruction of

a business itself or indeterminate losses in other business, the

availability of money damages may be a hollow promise and a

preliminary injunction appropriate.” Tom Doherty Associates,

Inc. v. Saban Entertainment, Inc., 60 F.3d 27, 38 (2d Cir.

1995).

     In this case, as set forth in plaintiff’s Declaration in

support of this application, plaintiff has shown that, if

plaintiff does not receive at least $197,000 of the money due

under the either of the two business interruption insurance

claims by May 17, 2020, plaintiff will lose its good will and

its entire business. (Pl.Decl., paras. 7-15).

      Plaintiff intends on utilizing that money to

professionally clean the premises on May 16, 2020 when Executive

Orders 202.17 and 202.18 expire and limited access to non-

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essential workplaces in New York City may occur. (Pl.Decl.,

para. 8, Exs. 11, 12 & 13).     Alternatively, if non-essential

workplaces in New York City are still prohibited after May 15,

2020, then plaintiff will be able to find alternative

manufacturing sites outside of New York City after May 15, 2020

under the re-opening plan described the Governor of New York

State. (Pl.Decl., para. 8, Ex. 13).

     If plaintiff receives the requested insurance money by May

17, 2020, plaintiff will be able to publish a magazine in time

to be distributed by the weekend that starts on Friday, May 29,

2020 and thereby fulfill its contractual obligations with its

advertisers. (Id., para. 9).

     Plaintiff’s business will not survive the loss of good will

with its advertising customers if it is unable to publish any

magazines by the beginning of this summer.       (Id., para. 10).

Plaintiff is a small and growing business in an extremely

competitive environment that includes Hamptons Magazine, The

Daily Front Row, The Purist, Beach Magazine, Avenue, and Dan’s

Papers.   (Id.).   As a result, its relationship with its

customers is extremely fragile. (Id.).

     If plaintiff is not able to timely deliver its monthly

product containing its customers’ advertising, those customers

will lose confidence in plaintiff and (1) place their

advertising with competitors of the plaintiff, (2) never place

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advertising with the plaintiff in the future once they have

secured new advertising options and/or (3) elect not to do

business with plaintiff in the future given plaintiff’s

demonstrated unreliability due to the failure to produce a

magazine pursuant to its contractual requirements. (Id., para.

11).

       In addition, it is impossible to accurately quantify

precisely how much business plaintiff will lose if it cannot

publish a magazine this summer with the defendant’s insurance

proceeds.     (Id., para. 12).     It is also impossible to accurately

quantify precisely how much business plaintiff will continue to

lose if it is unable to place the advertisements requested by

its customers.      (Id.). Once plaintiff loses a customer, that

customer will not return given that it left due to a bad

experience with plaintiff’s business. (Id.).

       Plaintiff cannot afford to wait for the completion of this

lawsuit in order to try to recoup its monetary losses from

defendants and re-start its business from scratch.            (Id., para.

13).    Unless, plaintiff obtains the requested relief, the

irreparable harm to plaintiff will be complete as plaintiff will

be out of business given that the good will and credibility with

its advertisers will have been destroyed. (Id.).




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     The Balance Of Hardships Tips in Plaintiff’s Favor.

     The balance of hardships tips in plaintiff’s favor.

Whereas plaintiff’s entire business is at risk if it does not

receive the requested insurance money by May 17, 2020,

defendant’s business will continue to operate normally during

the pendency of this lawsuit.     Accordingly, this factor favors

granting the relief sought by plaintiff.

     The Public Interest Would Not Be Disserved By The Issuance
     Of An Injunction.

     Because the public interest is not implicated in connection

with the relief sought, the public interest would not be

disserved by the issuance of an injunction. Accordingly, this

factor favors granting the relief sought by plaintiff.

                              Conclusion

     For all the foregoing reasons, plaintiff respectfully

requests that the Court grant the proposed preliminary

injunction.

Dated:    New York, New York
          May 4, 2020                   _____/s/______________
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